               Case 8:25-cv-00951-PX                            Document 82        Filed 04/16/25                          Page 1 of 1



                                            IN THE UNITED STATES DISTRICT COURT
                                               FOR THE DISTRICT OF MARYLAND

                                                                       *

                                                                       *
      v.                                                                                  Case No.
                                                                       *

                                                                       *

                                                               NOTICE OF APPEAL

             Notice is hereby given that                                                                                                 ,
                                                                            (fill in names of all parties who are appealing)



                                                                     in the above captioned case, hereby appeals to the
                       (indicate plaintiff/s or defendant/s)



United States Court of Appeals for the Fourth Circuit the
                                                                                                          (indicate order or judgment)


entered in this case on                                                    .



Date                                                                       Signature


                                                                           Printed Name and Bar Number



                                                                           Address


                                                                           Email Address


                                                                           Telephone Number


                                                                           Fax Number




NoticeofAppeal (06/2016)
